                IN THE DISTRICT COURT OF THE UNITED STATES FOR THE
                           MIDDLE DISTRICT OF TENNESSEE


UNITED STATES OF AMERICA                       )
                                               )
         v.                                    ) No. 3:22-cr-00078
                                               ) Judge Richardson
                                               )
ROBIN SMITH                                    )
                                               )


                   UNOPPOSED MOTION TO SET CHANGE OF PLEA HEARING

         Defendant Robin Smith hereby requests, through her undersigned counsel, that this Court

set a change of plea hearing in this matter.

         Ms. Smith was charged by an Information on March 4, 2022. Ms. Smith submits that the

parties have reached a plea agreement to resolve the pending charges in this case and that she is

ready to change her plea in this matter at a hearing to be set at a time of the Court’s convenience.

         The government has advised that it has no objection to this motion.

         For the foregoing reasons, Defendant Robin Smith respectfully requests that the Court set

a change of plea hearing in this matter and continue the setting of any deadlines in this matter to

accommodate a change of plea hearing to take place subject to the Court’s convenience and

availability.




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                                            Respectfully submitted,


                                            /s/W. David Bridgers
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 7, 2022, a copy of the foregoing document was filed by ECF,
which transmits an electronic copy of this document to all counsel record in this matter.

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                                                    /s/David Bridgers
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